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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )                      4:08CR3018
                                               )
                 v.                            )
                                               )
DORIS JEAN WILLIAMS,                           )           MEMORANDUM AND ORDER
                                               )
                       Defendants.             )
                                               )


       The defendant has filed a Motion to Reduce Sentence Pursuant to 18 U.S.C.S. §
3582(c)(1)(B), filing 91. The court has developed procedures to deal with such a motion, which
consists of (1) filing the motion, (2) appointing the Federal Public Defender as court-appointed
counsel for the defendant, (3) setting a deadline for the probation office to provide a “Retroactive
Sentencing Worksheet,” and (4) setting a deadline for counsel of record to confer and do one of
the following:
                 A.    File a stipulation containing the following provisions: (i) an
                       agreement that the defendant is eligible for a sentence reduction
                       pursuant to 18 U.S.C. § 3582(c) and U.S.S.G. § 1B1.10; (ii) an
                       agreement that the defendant may be resentenced without being
                       present and without further notice; and (iii) an agreement regarding
                       the recommended sentence.
                 B.    In lieu of the stipulation provided in paragraph A, counsel for the
                       government shall contact my judicial assistant and arrange a
                       telephone conference with the undersigned and counsel for the
                       defendant so that further progression of this case may be
                       scheduled.
       The motion was filed on November 4, 2010, filing 91. A Text Order was entered
appointing the Federal Public Defender as court-appointed counsel for Ms. Williams, document
entry 92. The supervising probation officer, by e-mail, has notified that Ms. Williams “received
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the benefit of the crack retroactivity amendment 704 at the time of sentencing. . . . Consequently,
our office will not be completing a retroactive worksheet as Ms. Williams is still subject to the
10 year statutory minimum sentence.”
       IT IS ORDERED that on or before January 3, 2011, counsel of record shall confer and do
one of the following:
               A.       File a stipulation containing the following provisions: (i) an
                        agreement that the defendant is eligible for a sentence
                        reduction pursuant to 18 U.S.C. § 3582(c) and U.S.S.G. §
                        1B1.10; (ii) an agreement that the defendant may be
                        resentenced without being present and without further
                        notice; and (iii) an agreement regarding the recommended
                        sentence.
               B.       In lieu of the stipulation provided in paragraph A, counsel
                        for the government shall contact my judicial assistant and
                        arrange a telephone conference with the undersigned and
                        counsel for the defendant so that further progression of this
                        case may be scheduled.
       Dated December 6, 2010.

                                        BY THE COURT

                                        s/ Warren K. Urbom
                                        United States Senior District Judge




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